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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov

    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

                                            NOTICE OF FILING

    PLEASE TAKE NOTICE OF THE FOLLOWING:

             1.   Attached hereto as Exhibit A is Exhibit 4- Time Records pursuant to the Supplement

to First and Final Fee Application for Allowance and Payment of Compensation and Reimbursement

of Expenses for the Law Firm of DGIM Law, PLLC as Counsel for the Chapter 11 Debtors [ECF No.

133]

Dated December 16, 2024.

                                                      DGIM Law, PLLC
                                                      Counsel for the Debtors
                                                      2875 NE 191st Street, Suite 705
                                                      Aventura, FL 33180
                                                      Phone: (305) 763-8708

                                                      /s/ Isaac Marcushamer
                                                      Isaac Marcushamer, Esq.
                                                      Florida Bar No. 0060373
                                                      Email: isaac@dgimlaw.com
                                                      Monique D. Hayes, Esq.
                                                      Florida Bar No. 843571
                                                      Email: monique@dgimlaw.com




1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Notice was served via CM/ECF Notification

and/or U.S. Mail to all parties on the attached service list on this 16 th day of December, 2024.



                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
                                              Florida Bar No. 0060373
                                              isaac@dgimlaw.com




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               EXHIBIT A




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                                                                                         Turnberry Plaza
                                                                           2875 N.E. 191 Street, Suite 705
                                                                                 Aventura, Florida 33180
                                                                                        P (305) 763-8708



Shiftpixy, Inc.                                                                       December 15, 2024
c/o of Jonathan Feldman, CRO:                                                                     379-1
Jonathan S. Feldman, Esq.
One Biscayne Tower, Suite 1600
2 South Biscayne Boulevard
Miami, Florida 33131


Matter No. 379-1
Chapter 11 Filing
Bill No. 8133


Fees:                                                                             Hours           Amount

12/12/24      CH       Preparation of motion to shorten time and order              1.70           374.00
                       on motion to dismiss (.5); edits and update fee
                       application; meeting with I. Marcushamer (.8);
                       final preparation and filing fee application for
                       DGIM (.4)

12/12/24      CH       Final preparation and filing motion to shorten               1.10           242.00
                       time on motion to dismiss and upload order;
                       preparation and upload order on motion to
                       shorten time on fee applications; meeting with I.
                       Marcushamer (.6); edits to motion to amend; final
                       preparation and filing motion to amend order
                       granting emergency motion for prepetition wages
                       (.5)

12/12/24      CH       Preparation of supplement to fee application.                0.80           176.00

12/12/24      MH       Phone call and e-mail correspondence with I.                 0.50           282.50
                       Marcushamer and proposed buyer regarding sale
                       issues

12/12/24      IM       Review and finalize comments to the Sale Order               4.20         2,373.00
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12/12/24      IM       Prepare for hearing on sale motion                            3.50       1,977.50

12/13/24      CH       Receipt and review of motion for leave to appear              1.40         308.00
                       remotely by Century Tacos; receipt and review of
                       notice of hearing on motion to amend motion for
                       pre-petition wages; attention to order granting
                       motion (.5); final preparation and filing motion to
                       leave to appear remotely and upload proposed
                       order; receipt and review of order granting
                       motion (.5); attention to mailout of documents
                       and filing of certificate of service (.4).

12/13/24      CH       Preparation of notice of filing sale order and                1.70         374.00
                       email regarding draft sale order (.3); receipt and
                       review of expedited motion for order authorizing
                       and directing debtor to file corrected wage and
                       tax statements; receipt and review of notice of
                       hearing; meeting with N. Pardo regarding
                       docketing (.4); final preparation and filing notice
                       of sale order (.5); final edits to and filing motion
                       for the rejection of APA with Tac Nexeo (.4).

12/13/24      IM       Call with CRO regarding open business items as                0.80         452.00
                       part of transition

12/13/24      IM       Finalize agreement with IRS regarding sale and                0.50         282.50
                       carve-out, and conversion

12/13/24      IM       Work on and resolve issues related to closing                 0.90         508.50
                       sale

12/13/24      IM       Prepare for hearing on 12.16 regarding sale                   2.40       1,356.00

12/15/24      CH       Receipt and review of hearing on motion to                    1.80         396.00
                       reject executory contracts with Tac Nexeo
                       Holdings, LLC; email to N. Pardo regarding
                       docketing; attention to service (.3); final
                       preparation and filing supplement to fee
                       application for DGIM (1.5).

                                                        Hours:                      21.30
                                                     Total fees:                               $9,102.00
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Expenses:

12/13/24       VB        CertificateOfService.com - Mailout of Court filings                      1,362.05

12/13/24       VB        CertificateOfService.com - Mailout of Court filings                      1,150.71

12/13/24       VB        CertificateOfService.com - Mailout of Court filings                      1,589.81

                                                Total expenses:                                  $4,102.57


Billing Summary

  Previous balance                                    $184,068.35
  Payments & adjustments                                     0.00
  Current fees & expenses                               13,204.57

  Total now due                                       $197,272.92

  Retainer balance                                     $84,626.50

Aged Balance
                         Current            31-60             61-90            Over 90            Total
  Fees               $179,922.50        $1,580.00             $0.00              $0.00      $181,502.50
  Expenses            $15,770.42            $0.00             $0.00              $0.00       $15,770.42
  Total              $195,692.92        $1,580.00             $0.00              $0.00      $197,272.92


FIRM TAX ID - XX-XXXXXXX

FOR PAYMENT OF INVOICE - WIRE TRANSFER INSTRUCTIONS

PAYEE: DGIM Law, PLLC - Firm Operating Account
BANK Name: City National Bank of Florida
BANK Address: 100 SE 2nd Street Miami, FL 33131
ACCOUNT No.:

SWIFT Code:
